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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:07CR73
                       Plaintiff,                   )
                                                    )
      vs.                                           )             ORDER
                                                    )
EUGENIO CAMACHO-PARRAL,                             )
                                                    )
                       Defendant.                   )


      This matter is before the Court on the motion of defendant Eugenio Camacho-Parral
(Camacho-Parral) for a continuance of trial (Filing No. 27). The motion does not comply
with NECrimR 12.1 (a) and paragraph 9 of the Progression Order (Filing No. 21) in that the
motion is not accompanied by the defendant’s affidavit or declaration stating that
defendant:
      (1)    Has been advised by counsel of the reasons for seeking a continuance;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 27) is :
             (X)       Held in abeyance pending compliance with NECrimR 12.1(a) and
                       Paragraph 10 of the Progression Order. Absent compliance on or
                       before March 11, 2008, the motion will be deemed withdrawn and
                       termed on the docket.
             (     )   Denied.


      IT IS SO ORDERED.


      DATED this 3rd day of March, 2008.
                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
